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John Rue (047032005)
John Rue & Associates, LLC
40 S. Fullerton Ave., Ste. 29
Montclair, New Jersey 07042
(862) 283-3155
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


M.A.,                                    )
                                         ) Civil Action No. 3:20-cv-05218
              Plaintiff,                 )
                                         )
v.                                       )         CERTIFICATION OF
                                         )              DAVID GILES
Wall Township Board of Education,        )
                                         )
            Defendant.
                                         )



        I, DAVID R. GILES, hereby declare as follows:

1.      I have been asked to give my expert opinion in regards to the rates requested
        by John Rue and Associates, based on my education, training and
        experience. Those rates are:

        •     John Rue (Principal): $495 per hour (admitted 2005)
        •     Donald Soutar (Partner): $485 per hour (admitted 1999)
        •     Robert Thurston (Of Counsel): $485 per hour (admitted 1988)
        •     Lisa Quartarolo (Counsel): $385 per hour (admitted 1998)
        •     Frank Geier (Associate): $385 per hour (admitted 2005)
        •     Kenneth Walk (Associate): $275 per hour (admitted 2019)
        •     Latiah Griffin (Law Clerk): $220 per hour per hour
        •     Paralegal work (by whomever performed): $165 per hour

2.      My education, training and experience include, but are not limited to the
        following:

        a. I graduated from Harvard University with a Bachelor of Arts degree in
           1984 and from Stanford Law School in 1989.
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      b. I was admitted to practice law in the state of California in 1989, in the
         state of New Jersey in 2001, and in the state of New York in 2003.

      c. I have practiced law on a continuous, full time basis since first admitted.

      d. I practiced in California until 2001 and have practiced in New Jersey
         since then, although I have occasionally done legal work in New York.

      e. Throughout my legal career (I was a teacher between college and law
         school), my practice has primarily focused in the area of education and
         civil rights law.

      f. Ihave, however, also handle appeals on behalf of abused and neglected
         children for the Office of the Public Defender, Law Guardian Appellate
         Section and guardianship cases for guardians of incapacitated adults.

      g. Except for three years during which I served as an attorney for the United
         States Department of Education, Office for Civil Rights (OCR), I have
         primarily represented students and their parents in education cases.

      h. Except for my time at OCR, from 1989 to 2003, I worked exclusively at
         legal services organizations (California Rural Legal Assistance, East Palo
         Alto Community Law Project and Education Law Center in Newark)
         through which I represented clients only on a pro bono basis.

      i. Except for a few years, since 2003 , I practiced on a part-time of counsel
         basis at ELC.

      j. Since 2003, I have also maintained a solo private practice.

      k. I have substantial experience in education law and civil rights
         proceedings before the New Jersey Office of Administrative Law and
         New Jersey state and federal Courts.

      l. My regular billing rate is $450 per hour, which I understand is below
         market rates for lawyers in my geographic area with comparable
         knowledge, skills, experience and practice.

3.    A substantial portion of my work in my private practice is handled on a pro
      bono or contingency fee basis.

4.    I am generally familiar with the rates charged by members of the New Jersey
      legal community, including many who practice civil rights law.
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5.    Having spent my career handling a substantial amount of pro bono and
      contingency cases, I have had to keep abreast of the prevailing market rates
      for legal services in the communities in which I have practiced by paying
      attention to various published surveys of rates charged, talking to colleagues
      and reviewing related court decisions.

6.    I’m not receiving any compensation in connection with the filing of this
      Certification; I have not been promised any compensation; and I do not have
      any agreement with the Plaintiff or Plaintiff’s attorneys regarding
      compensation in the future.

7.    I’ve given permission for use of this certification in this and future cases.

8.    John Rue

       • I have reviewed Mr. Rue’s affidavit of services and note that he has
         more than 16 years of legal experience, including substantial experience
         in the areas of disability rights and education law and civil rights before
         New Jersey state and federal courts.

       • I also understand that Mr. Rue is the Principal of John Rue & Associates
         (the “Firm”), and is responsible for all attorneys and client work
         performed at that firm.

       • I further understand that Mr. Rue previously worked at White & Case
         for eight years, billing that firm’s clients at a rate of $690.00 per hour at
         the time he left its employ in 2012.

       • I also understand that the Firm accepted this case predominantly in
         reliance on its ability to recover prevailing party fees.

       • Based on my familiarity with prevailing rates charged by attorneys in the
         New Jersey legal community, the nature and complexity of education
         cases, Mr. Rue’s level of legal experience, and the inherent risk in taking
         cases on a contingency basis, I believe Mr. Rue’s rate of $495 per hour
         is reasonable and within the range of prevailing rates charged by
         attorneys with comparable skill, education and experience in New
         Jersey.
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9.    Donald Soutar (Partner)

       • I have previously reviewed Mr. Soutar’s qualifications and note that he
         has more than 20 years of legal experience before New Jersey state and
         federal courts and is a Partner at John Rue & Associates, LLC.

       • I also understand that the Firm accepted this case predominantly in
         reliance on its ability to recover prevailing party fees.

       • Based on my familiarity with prevailing rates charged by attorneys in the
         New Jersey legal community, the nature and complexity of education
         law cases, Mr. Soutar’s level of legal experience, and the inherent risk in
         taking cases on a contingency basis, I believe the rate of $485 per hour is
         reasonable and within the range of prevailing rates charged by attorneys
         with comparable skill, education and experience in New Jersey.

10.   Lisa Quartarolo (Counsel)

       • I have reviewed Ms. Quartarolo’s qualifications and note that she has
         more than 20 years of legal experience before New Jersey state and
         federal courts.

       • I also understand the she has provided several years of pro bono
         assistance to parents of children with special education needs and to the
         New Jersey Special Education Practioners group, which is a group
         consisting primarily of attorneys and advocates who represent parents in
         special education matters.

       • Based on my familiarity with prevailing rates charged by attorneys in the
         New Jersey legal community, the nature and complexity of education
         law cases, Ms. Quartarolo’s level of legal experience, and the inherent
         risk in taking cases on a contingency basis, I believe the rate of $385 per
         hour is reasonable and within the range of prevailing rates charged by
         attorneys with comparable skill, education and experience in New
         Jersey.

11.   Robert Thurston (partner)

       • I have reviewed Mr. Thurston’s qualifications and note that he has more
         than 30 years of legal experience before New Jersey state and federal
         courts.
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        • I also understand the he is the principal of his own law firm, Thurston
          Law Offices, LLC, which began operation in 2005.

        • I also know that Mr. Thurston’s firm concentrates on the needs of
          students with disabilities and related litigation.

        • Based on my familiarity with prevailing rates charged by attorneys in the
          New Jersey legal community, the nature and complexity of education
          law cases, Mr. Thurston’s level of legal experience, and the inherent risk
          in taking cases on a contingency basis, I believe the rate of $485 per
          hour is reasonable and within the range of prevailing rates charged by
          attorneys with comparable skill, education and experience in New
          Jersey.

12.    Junior professionals

        • I have reviewed the resumes of the Associates and Law Clerks, and note
          that each has graduated from an accredited law school, has been
          admitted to practice law in the state of New Jersey,1 and practices under
          the supervision of the Firm generally, and Mr. Rue specifically.

        • I also understand that the Firm accepted this case predominantly in
          reliance on its ability to recover prevailing party fees, and education
          cases are often difficult, time-intensive and uncertain.

        • Based on my familiarity with prevailing rates charged by attorneys in the
          New Jersey legal community, the nature and complexity of education
          cases, these junior professionals level of legal experience, and the
          inherent risk in taking cases on a contingency basis, I believe the rates of
          $250-$385 per hour for junior attorneys, $220 per hour for law clerk
          time, and $165 per hour for paralegal time are reasonable and within the
          range of prevailing rates charged by attorneys with comparable skill,
          education and experience in New Jersey.




1
  I understand that Ms. Griffin was admitted to the New Jersey bar subsequent to her work on
this matter.
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       I affirm that the facts contained within the above statements are true to the
best of my knowledge, information and belief. I am aware if any of the foregoing
facts are found to be willfully false, I am subject to punishment.

                                                    s/David R. Giles (jdr w/ auth)
Dated: February 9, 2022                             David R. Giles, Esq.
